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DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico
CIVIL NO. 18-1005
Bancrédito International Bank Corporation ;
Plainttfits)
Vi ) Civil Action No. BREACH OF CONTRACT;
) EXECUTION OF COLLATERAL GUARANTY;
) EXECUTION OF PERSONAL GUARANTY
Dayco Telecom C.A.
Defendant(s) )

SUMMONS IN A CIVIL ACTION

TO: (Defendant's nome and adelresa)
Dayco Telecom C.A.
8950 Sw 74 Ct. Ste, 1803, Miami, Florida 33156

A lewsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3}-—- or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on

the plaintiff or plaintifi’s attorney, whose name and address are:

Harold D. Vicente, Vicente & Cuebas
PO Box 11609, San Juan, PR 00910-1609

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court,

FRANCES RIOS DE MORAN, ESO.
CLERK OF COURT

Date:

Signature of Clerk or Depaty Clerk

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Civil Action No.

was received by me ott fete)

Date: -

PROOF OF SERVICE
(This section should not be filed with the court uniess required by Fed, R, Civ. P. 4 (0)

This summons for (aqme of inelviduel and tile, f any)

Clr personally served the summons on the individual at place)

on date) of

[] I left the summons at the individual’s residence or usual place of abode with (mae)

, i person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address: or

on (dete)
[[] I served the summons on (ame of inetivietuat) , who is
designated by law to accept service of process on behalf of (aame of organization).

Onl (date) ; or
[-] Ireturned the summons unexecuted because ;or
LC] Other fspecif):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this Information is true,

Server's signature

Printed name and tile

Server's address

Additional information regarding attempted service, ete:

